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                EXHIBIT 7
                                                 Case 2:15-cv-00102-RSM Document 94-7 Filed 09/18/15 Page 2 of 20
                                                  !"#$%&''()*(+',-.(/0122234)56$789:;%222<=>$?+'@9:@'-222A"B$'24C2':



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                                          10                                 UNITED STATES DISTRICT COURT
For the Northern District of California




                                          11                              NORTHERN DISTRICT OF CALIFORNIA
    United States District Court




                                          12                                          SAN JOSE DIVISION
                                          13
                                               APPLE, INC., a California Corporation,)                 Case No. 5:11-cv-01846-LHK (PSG)
                                          14                                         )
                                                                       Plaintiff,    )                 ORDER GRANTING MOTION FOR
                                          15          v.                             )                 SANCTIONS
                                                                                     )
                                          16   SAMSUNG ELECTRONICS CO., LTD., a      )                 (Re: Docket Nos. 2374, 2435)
                                               Korean corporation; SAMSUNG           )
                                          17   ELECTRONICS AMERICA, INC., a New York )
                                               corporation; and SAMSUNG              )
                                          18   TELECOMMUNICATIONS AMERICA, LLC, )
                                               a Delaware limited liability company, )
                                          19                                         )
                                                                       Defendants.   )
                                          20                                         )

                                          21          A junior associate missing one redaction among many in an expert report is not exactly a

                                          22   historical event in the annals of big-ticket patent litigation. Even if regrettable, these things can
                                          23
                                               happen, and almost certainly do happen each and every day. But when such an inadvertent
                                          24
                                               mistake is permitted to go unchecked, unaddressed, and propagated hundreds and hundreds of
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                                               times by conscious – and indeed strategic – choices by that associate’s firm and client alike, more
                                          26
                                               significant and blameworthy flaws are revealed.
                                          27

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                                                                                1
                                               Case No. 5:11-cv-01846-LHK (PSG)
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                                                     !"#$%&''()*(+',-.(/0122234)56$789:;%222<=>$?+'@9:@'-222A"B$924C2':


                                                         To address such flaws in this case, abrogate the harm suffered, and discourage recurrence,
                                           1

                                           2       the court GRANTS the motion for sanctions by Plaintiff Apple Inc. and non-party Nokia

                                           3       Corporation, as set forth below.
                                           4                    I. TIMELINE: WHAT HAPPENED TO THE TEECE REPORT?
                                           5
                                                         In July of 2013, Nokia’s Paul Melin filed a declaration that launched a thousand
                                           6
                                               accusations. 1 In that document, Melin claims that Samsung’s Seungho Aho had recited for him the
                                           7
                                               precise terms of an Apple/Nokia license agreement in the course of a Samsung/Nokia licensing
                                           8

                                           9   negotiation, that Ahn admitted getting the information through his attorneys, and that Ahn had

                                          10   confidently declared “all information leaks.” 2
For the Northern District of California




                                          11             At the first hearing on this matter on October 1, 2013, Apple and Nokia argued to the court
    United States District Court




                                          12   that it appeared that Samsung had used the information disclosed in violation of Section 6 of this
                                          13
                                               court’s protective order to gain an advantage not only in the Samsung/Nokia licensing negotiations,
                                          14
                                               but also in proceedings before the United States International Trade Commission and United States
                                          15
                                               Federal Trade Commission and in litigation around the globe. 3 However, before they could say
                                          16

                                          17   more, Apple and Nokia prevailed that they needed discovery to find out the details. 4 In light of the

                                          18   scant explanation and evidence proffered by Samsung, the court obliged, authorizing substantial

                                          19   document production and depositions. 5
                                          20

                                          21

                                          22   1
                                                   See Case No. 5:12-cv-0630-LHK (PSG), Docket No. 647.
                                          23   2
                                                   Id.
                                          24   3
                                                   See Docket No. 2485 at 5-11.
                                          25   4
                                                   See id. at 23; see also Docket No. 2374.
                                          26   5
                                                See Docket No. 2483. This order was subsequently affirmed by Judge Koh based on her
                                          27   conclusion that it was a “highly appropriate and necessary mechanism for determining answers to
                                               basic questions that Samsung has been unable to provide.” See Docket No. 2538 at 8.
                                          28
                                                                                2
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                                                     !"#$%&''()*(+',-.(/0122234)56$789:;%222<=>$?+'@9:@'-222A"B$;24C2':


                                                         By the second hearing on October 22, Apple and Nokia’s general allegations were a little
                                           1

                                           2   more fulsome, but details remained limited. 6 A few months after an initial disclosure by

                                           3   Samsung’s attorneys at the Quinn Emanuel firm of various Apple license terms in an expert report
                                           4   by David Teece, an in-house Samsung attorney somehow picked the terms of the Apple/Nokia
                                           5
                                               license out of a redacted spreadsheet and sent those terms to a licensing executive for some
                                           6
                                               unknown purpose. 7 Several months after that, Quinn Emanuel sent another copy of the improperly
                                           7
                                               redacted report to that same Samsung attorney, who was told to delete it. 8 But after several
                                           8

                                           9   months, the same Samsung attorney circulated yet another copy of the improperly redacted report,

                                          10   casting doubt as to whether the instruction to delete was actually followed. 9 Shortly before the
For the Northern District of California




                                          11   negotiations between Samsung and Nokia began, a document entitled “Nokia-Apple License
    United States District Court




                                          12   Memo” was widely circulated within Samsung and sent to another outside law firm. 10 Any one of
                                          13
                                               these events by themselves-and certainly the lot together-would be enough to raise suspicions, but
                                          14
                                               because of Samsung’s sweeping privilege assertions, 11 neither Apple nor Nokia had access to
                                          15
                                               enough information to tell a clear and coherent story.
                                          16

                                          17             In the interest of getting to the bottom of things, while respecting any valid assertions of

                                          18   privilege that Samsung may have had, the court undertook an in camera review of all the

                                          19   documents identified as relevant but privileged. 12 That review gave the court an outline that filled
                                          20
                                               6
                                                   See generally Docket No. 2581.
                                          21
                                               7
                                                   See Docket No. 2557-4 at 4, 11.
                                          22
                                               8
                                                   See Docket No. 2558-29 at 3; Docket No. 2557-4 at 8.
                                          23
                                               9
                                                   See id.
                                          24
                                               10
                                                    See Docket No. 2557-4 at 9-10; Docket No. 2558-29 at 4.
                                          25
                                               11
                                                    See Docket No. 2556-3 at 11.
                                          26
                                               12
                                                 This review included more than 20,000 pages of documentary evidence, along with over 5500
                                          27   pages of declarations. This is, of course, in addition to reviewing the 61 briefs submitted by the
                                               parties and the deposition transcripts covering over 50 hours of testimony.
                                          28
                                                                                                  3
                                               Case No. 5:11-cv-01846-LHK (PSG)
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                                                    Case 2:15-cv-00102-RSM Document 94-7 Filed 09/18/15 Page 5 of 20
                                                     !"#$%&''()*(+',-.(/0122234)56$789:;%222<=>$?+'@9:@'-222A"B$-24C2':


                                               in many of the whos, whats, and whens of the information’s transmission, but very few whys or
                                           1

                                           2   hows:

                                           3                  x   March 24, 2012: Quinn Emanuel posted an insufficiently redacted copy of David
                                                                  Teece’s Initial Expert Report to an FTP site and emailed more than 90 Samsung
                                           4                      employees with instructions for accessing the document, including Seungho Ahn,
                                                                  Clayton Kim, James Kwak, and Indong Kang. 13 The insufficient redactions
                                           5                      exposed the terms of several of Apple’s confidential license agreements, including
                                                                  those with Nokia and Ericsson. 14 Although the FTP site was apparently taken down
                                           6                      within ten days, 15 the tainted document was downloaded and distributed widely
                                                                  within the first two days, creating ample copies for additional dissemination. 16
                                           7
                                                              x   June 29, 2012: “With regard to [a] question [Kim] posed,” Daniel Shim, an in-
                                           8                      house attorney at Samsung, highlighted for Kim the detailed terms of the Apple-
                                                                  Nokia license from a redacted spreadsheet. 17 The spreadsheet in question had been
                                           9
                                               13
                                          10     See, e.g., Tab Nos. 2, 215. The tab numbers in this footnote and those that follow refer to the
                                               tabs of the documents submitted by Samsung for in camera review. Because Samsung offered to
For the Northern District of California




                                          11   turn over the vast majority of the documents cited in this order, the court finds that privilege has
                                               been waived as to those documents. As to all other documents cited, the court finds that the
    United States District Court




                                          12   portions discussed in this order are not privileged.
                                               14
                                          13        See id.
                                               15
                                          14        See Docket No. 2883 at 36.
                                               16
                                          15     See, e.g., Tab Nos. 3-5 (emails between March and May 2012 attaching and circulating Teece
                                               using a downloaded copy); Tab No. 215 (directing the recipients to “[p]lease access the FTP site
                                          16   below, download Teece report, and circulate it.”).
                                               17
                                          17      Although both Shim and Kim have been deposed and filed declarations in this matter, see
                                               Docket Nos. 2557-10 (Shim Depo.), 2557-14 (Kim Depo.), 2556-16 (Shim Decl., 10/21/13),
                                          18   2807-14 (Shim Decl. 11/15/13); 2807-9 (Kim Decl.), at first blush, neither remembered the context
                                               of this exchange, see Docket No. 2557-10 at 124: 12-15 (“Q: Do you have any memory at all as to
                                          19   why you were sending this spreadsheet to Mr. Kim in June of that year? A: I do not.”);
                                               Docket No. 2557-14 at 73-75; Docket No. 2807-9 at 2 (“I no longer remember why Daniel and I
                                          20   were emailing each other and our legal counsel on or around June 29, 2012.”). Both claimed not to
                                               remember what the information was going to be used for or why they were discussing the terms.
                                          21   See id. Given just a few days, though, Shim developed a clearer memory as to how he identified
                                               the terms, as well as a clearer memory of the context. In a declaration sworn six days after his
                                          22   deposition, Shim swears that it was easy to recognize the terms of the Apple/Nokia license because
                                               Nokia was the only party that Apple would be contracting with in Euros. See Docket No. 2556-16
                                          23   at 2-3 (“The spreadsheet disclosed the terms, including the specific financial terms, of various
                                               patent licenses that Apple had with other companies. While the spreadsheet was anonymized as to
                                          24   the company, I deduced to a reasonable degree of certainty from one of the entries that it identified
                                               the license terms for Apple’s license with Nokia, including its specific financial terms. It was the
                                          25   only entry on the spreadsheet listed in Euros and described large amounts that I thought very likely
                                               would be paid only by Apple to settle what I had read and heard was a significant litigation claim
                                          26   against Apple by Nokia that at the time posed a serious risk to a large portion of Apple’s European
                                               business.”). This reasoning does not appear, however, anywhere in the June 29 email, nor does he
                                          27   qualify his identification in any way, to indicate that he was less than 100% sure about the
                                               identification. See Tab Nos. 222, 225.
                                          28
                                                                                4
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                                                     !"#$%&''()*(+',-.(/0122234)56$789:;%222<=>$?+'@9:@'-222A"B$%24C2':


                                                                  prepared in the course of litigation between Apple and Samsung in the
                                           1                      Netherlands. 18 It contained the detailed terms of Apple’s licenses with other major
                                                                  players in the industry, but the names of the companies had all been redacted. 19
                                           2                      Only nine people in Samsung were authorized to view this spreadsheet, and Shim
                                                                  was one of them. 20 The terms identified match precisely the key terms revealed in
                                           3                      the Teece Report.
                                           4                  x   July-December 2012: The insufficiently redacted Teece Report continued to
                                                                  circulate within Samsung, and to its outside counsel. 21 Ultimately, over 200 people
                                           5                      not authorized by the protective order would receive the document with the
                                                                  confidential license terms.
                                           6
                                                              x   December 22, 2012: In response to a request over the holidays, a Quinn Emanuel
                                           7                      senior associate emailed Shim a copy of the insufficiently redacted Teece Report. 22
                                                                  For some unknown reason, a Quinn Emanuel junior associate reviewed the
                                           8                      redactions again and identified the incomplete redaction. 23 The junior associate
                                                                  immediately brought it to the attention of the senior associate and a partner, 24
                                           9                      specifically noting that Apple had never approved the redactions to the original
                                                                  Teece Report, which contrasted with their explicit approval of other reports. 25 In
                                          10                      response, the senior associate asked Shim to delete the email, which Shim
                                                                  confirmed he did, 26 but nothing more was done to contain or investigate the damage,
For the Northern District of California




                                          11                      and neither Apple nor Nokia were notified that there had been a disclosure.
    United States District Court




                                          12                  x   January 4, 2013: In forwarding Shim a “clean” 27 copy of the Teece Report, the
                                                                  senior associate also forwarded an email chain which highlighted for Shim precisely
                                          13                      where the confidential information could be found in older versions of the
                                                                  document. 28
                                          14

                                          15   18
                                                    See Tab Nos. 8, 221.
                                          16   19
                                                    See id.
                                          17   20
                                                    See Docket No. 2557-10 at 122.
                                          18   21
                                                    See, e.g., Tab Nos. 17, 18, 216, 225, 258, and 260.
                                          19   22
                                                  See Tab No. 19. Microunity, a company engaged in a separate litigation with Samsung, used
                                          20   Teece’s testimony in the Apple/Samsung litigation against Samsung in their case, and Shim wanted
                                               to review the report in order to develop a rebuttal. See Docket No. 2557-10 at 138-39.
                                          21   23
                                                 See Tab No. 20. This was the same associate who had prepared the initial redactions for the
                                          22   version of the report to go on the FTP site. See Docket No. 2883 at 34.
                                               24
                                          23        See Tab No. 20.
                                               25
                                          24        See id.
                                               26
                                          25        See Docket No. 2807-15, Ex. 4.
                                               27
                                          26      This version of the Teece Report still contained unredacted information regarding Ericsson’s
                                               licenses with Apple, but in a different section of the report.
                                          27   28
                                                    See Tab No. 20.
                                          28
                                                                                5
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                                                     !"#$%&''()*(+',-.(/0122234)56$789:;%222<=>$?+'@9:@'-222A"B$.24C2':


                                                              x   February-March 2013: Samsung referenced and discussed the terms in Apple’s
                                           1                      license with Ericsson (the same terms that were disclosed in the insufficiently
                                                                  redacted Teece Report) as critical to their upcoming arbitration with Ericsson while
                                           2                      simultaneously undergoing extensive discovery to obtain those terms. 29
                                           3                  x   March 31, 2013: In preparation for Samsung’s negotiations with Nokia, the
                                                                  Williams and Connolly law firm delivered a report to Samsung on the terms of the
                                           4                      Apple/Nokia license agreement. 30 This report was prepared in response to a request
                                                                  by Indong Kang in early March and drew its conclusions from an exhaustive review
                                           5                      of public financial filings from both companies, as well as selected news reports and
                                                                  predictions. 31
                                           6
                                                              x   May 13, 2013: Shim emailed Quinn Emanuel a copy of the Teece Report with the
                                           7                      confidential license terms still unredacted. Quinn Emanuel did nothing in
                                                                  response. 32
                                           8
                                                              x   June 4, 2013: During a negotiation between Samsung and Nokia, Paul Melin
                                           9                      proposed a licensing fee far above what the Samsung team believed was
                                                                  appropriate. 33 According to Ahn, Nokia justified the figure by referencing a similar
                                          10                      fee paid by a company of approximately Samsung’s size. 34 Melin says that in
                                                                  response, Ahn recited the terms of Nokia’s parallel license with Apple and stated
For the Northern District of California




                                          11                      that he had learned the terms from his lawyers because “all information leaks.” 35
    United States District Court




                                                                  Ahn claims that the number he quoted was actually an estimate based on public, not
                                          12                      private, information, and he was just “pretending” to be more certain than he was. 36
                                          13                  x   July 1, 2013: Nokia filed a motion for a protective order in the 12-630 case, and the
                                                                  current circus began. 37
                                          14

                                          15

                                          16

                                          17

                                          18

                                          19   29
                                                    See, e.g., Tab Nos. 87, 90, 93, 121, 144, and 239.
                                          20   30
                                                    See Tab No. 56.
                                          21   31
                                                    See id.
                                          22   32
                                                    See Tab No. 272.
                                          23   33
                                                    See Docket No. 2557-8 at 81-82.
                                          24   34
                                                    See id.
                                          25   35
                                                    See Case No. 5:12-cv-0630-LHK (PSG), Docket No. 647.
                                          26   36
                                                    See Docket No. 2557-8 at 94.
                                          27   37
                                                    See Case No. 5:12-cv-0630-LHK (PSG), Docket No. 647.
                                          28
                                                                                6
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                                                     !"#$%&''()*(+',-.(/0122234)56$789:;%222<=>$?+'@9:@'-222A"B$D24C2':


                                                         With this outline in mind, on November 8, 2013, the court issued an Order to Show Cause
                                           1

                                           2   Why Sanctions Are Not Warranted as to three particular violations of its protective order:

                                           3                  1. Samsung’s wrongful use of the disclosed sensitive business information in preparing
                                                                 for:
                                           4                          a. its negotiations and arbitrations with Ericsson between May 2012 and May
                                           5                             2013;
                                                                      b. its negotiations with Nokia between March 22, 2012 and June 4, 2013;
                                           6
                                                              2. QE’s failure to fully redact sensitive business information from the Initial Expert
                                           7                     Report of David Teece, resulting in the pervasive distribution of the SBI to Samsung
                                                                 employees who were not authorized to have access to it; and
                                           8

                                           9                  3. QE’s failure to follow the procedures set forth in Section 18 of the Protective Order
                                                                 after repeated notice of the disclosure of sensitive business information. 38
                                          10
                                               The court also authorized Samsung to take its own discovery. 39
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                                          11
    United States District Court




                                                                               II. THE GOVERNING LEGAL STANDARDS
                                          12
                                                         In evaluating the record before it, the court is faced with three separate questions. First, has
                                          13

                                          14   its protective order been violated? Second, if the protective order has been violated, does the court

                                          15   have the authority to issue sanctions for those violations? Finally, if the court has the authority to
                                          16   issue sanctions, what factors should it consider in determining whether sanctions are warranted?
                                          17
                                               A.        There Is No Intent Requirement To Violate The Protective Order
                                          18
                                                         In order to determine whether or not a protective order has been violated, courts focus on
                                          19
                                               the terms of the order itself. 40 In this case, Section 6(a) of the protective order states that
                                          20

                                          21   “Protected Material shall not voluntarily be distributed, disclosed, or made available to anyone

                                          22   except as expressly provided in this order.” 41 Quinn Emanuel and Samsung have argued that this

                                          23
                                               38
                                          24        Docket No. 2689 at 5.
                                               39
                                          25        See id.
                                               40
                                          26    See e.g., Biovail Labs., Inc. v. Anchen Pharm., Inc., 463 F. Supp. 2d 1073, 1080 (C.D. Cal.2006);
                                               On Command Video Corp. v. LodgeNet Entm’t Corp., 976 F. Supp. 917, 922 (N.D. Cal. 1997).
                                          27   41
                                                    See Docket No. 687 at 5 (emphasis added).
                                          28
                                                                                7
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                                                     !"#$%&''()*(+',-.(/0122234)56$789:;%222<=>$?+'@9:@'-222A"B$,24C2':


                                               creates an intent requirement to find a violation of the order. 42 However, in the context of
                                           1

                                           2   discovery issues, “voluntarily” is typically interpreted as “absent court compulsion,” rather than

                                           3   “with intent or willfulness.” 43 This interpretation is consistent with how other courts have
                                           4   addressed protective order violations. 44 Interpreting “voluntarily” as such in this context, the court
                                           5
                                               finds that this protective order does not establish a willfulness requirement; absent court order, any
                                           6
                                               distribution, disclosure, or making available of protected information is a violation, regardless of
                                           7
                                               the intent of the perpetrator.
                                           8
                                               B.       This Court Has The Authority Under Fed. R. Civ. P. 37 To Issue Sanctions For
                                           9            Violations Of Its Protective Order
                                          10
                                                        While at least one other appellate court disputes the applicability of Rule 37 to Rule 26(c)
For the Northern District of California




                                          11
                                               protective orders, 45 the Ninth Circuit has repeatedly held that Rule 37 “provide[s] comprehensively
    United States District Court




                                          12
                                               for enforcement of all [discovery] orders, including Rule 26(c) protective orders.” 46 Whatever the
                                          13
                                               merits of the conclusions of other jurisdictions, when the Ninth Circuit has spoken, this court is
                                          14

                                          15   duty-bound to listen. Because the conduct here stems directly from the protective order issued

                                          16   under Rule 26(c) “to provide or permit discovery,” the court has the authority to issue sanctions
                                          17   42
                                                    See Docket No. 2556-3 at 2.
                                          18   43
                                                 See, e.g., Gifford v. Precision Pallet, Inc., Case No. 07-2339-JTM, 2008 WL 4078787, at *4
                                          19   (D. Kan. Aug. 28, 2008) (contrasting voluntary disclosure with disclosure pursuant to court order);
                                               Hodgson v. Bell Letter Serv., Inc., 63 F.R.D. 109, 111 (D. Conn. 1974) (same); Nat’l Steel
                                          20   Products Co. v. Superior Court, 164 Cal. App. 3d 476, 482 (1985) (same); see also 7 Annotated
                                               Patent Digest § 42:79 (“A voluntary disclosure does not occur where a court order has compelled
                                          21   the disclosure. Such disclosure is not voluntarily.”).
                                               44
                                          22     See, e.g., Smith & Fuller, P.A. v. Cooper Tire & Rubber Co., 685 F.3d 486, 490 (5th Cir. 2012)
                                               (holding undisputed that inadvertent disclosures violate a protective order).
                                          23   45
                                                 See, e.g., Lipscher v. LRP Publ’ns, Inc., 266 F.3d 1305, 1323 (11th Cir. 2001) (holding that Rule
                                          24   26(c) protective orders “do not fall within the scope of Rule 37(b)(2).”).
                                               46
                                          25     See Westinghouse Elec. Corp. v. Newman & Holtzinger, P.C., 992 F.2d 932, 934-35 (9th Cir.
                                               1993); Flastoff Brewing Corp. v. Miller Brewing Co., 702 F.2d 770, 704 (9th Cir. 1983)
                                          26   (“Fed. R. Civ. P. 37(a) empowers the courts to impose sanctions for failures to obey discovery
                                               orders.”); see also United States v. Nat’l Med. Enters., Inc., 792 F.2d 906, 911 (9th Cir. 1986
                                          27   (affirming Rule 37 sanctions for violation of protective order); cf. Smith & Fuller, 685 F.3d at 490
                                               (same).
                                          28
                                                                                8
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                                                     !"#$%&''()*(+',-.(/0122234)56$789:;%222<=>$?+'@9:@'-222A"B$:24C2':


                                               and structure remedies for any violations under Rule 37(b)(2)(A). 47 Such sanctions may be
                                           1

                                           2   imposed against parties or counsel. 48

                                           3   C.        Sanctions Should Be Structured Both To Remedy The Harm Caused And Deter
                                                         Similar Conduct
                                           4
                                                         Authority, however, is not obligation. In other words, protective order violations may, but
                                           5
                                               do not necessarily, constitute sanctionable conduct. Rule 37 provides that the court “may issue
                                           6

                                           7   further just orders” in response to violations of discovery orders, including the judicial

                                           8   establishment of facts, striking certain evidence or defenses, or other appropriate sanctions for

                                           9   various discovery violations. 49 Because the rule mandates sanctions under certain conditions but
                                          10
                                               only allows for them under others, the court has the discretion to determine whether sanctions
For the Northern District of California




                                          11
                                               are appropriate.
    United States District Court




                                          12
                                                         In determining whether to issue sanctions, or what forms the sanctions should take, a court
                                          13
                                               must look to the totality of the circumstances surrounding each violation. In Falstaff Brewing
                                          14

                                          15   Corp. v. Miller Brewing Co., the Ninth Circuit explained that “Rule 37(b) sanctions may serve

                                          16   either remedial and compensatory purposes or punitive and deterrent purposes.” 50 Although the
                                          17   court has broad discretion to fashion remedies to the misconduct, the harshest sanctions, such as
                                          18
                                               exclusion of evidence or dismissal, are to be reserved for cases of bad faith or willful misconduct. 51
                                          19
                                          20
                                               47
                                          21     Because the court finds sufficient authority to issue sanctions under Rule 37, it does not consider
                                               any alternative sources such as its inherent authority.
                                          22   48
                                                  See Cal. Prac. Guide Fed. Civ. P. Before Trial Ch. 11(V)-C (“Sanctions may be imposed against
                                          23   the attorneys [or clients] separately or against the attorneys and clients jointly and severally.”)
                                               (citing Hyde & Drath v. Baker, 24 F.3d 1162, 1172 (9th Cir. 1994)).
                                          24   49
                                                    See Fed. R. Civ. P. 37.
                                          25   50
                                                    702 F.2d 770, 783 (9th Cir. 1983).
                                          26   51
                                                 See United States v. Sumitomo Marine & Fire Ins. Co., Ltd., 617 F.2d 1365, 1369
                                          27   (9th Cir. 1980). Case-dispositive sanctions are subject to an additional five factor balancing test:
                                               “(1) the public’s interest in expeditious resolution of litigation; (2) the court’s need to manage its
                                          28   dockets; (3) the risk of prejudice to the party seeking sanctions; (4) the public policy favoring
                                                                                                   9
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                                                     !"#$%&''()*(+',-.(/0122234)56$789:;%222<=>$?+'@9:@'-222A"B$'+24C2':


                                                         In light of Falstaff, the ideal remedy is one that advances both the remedial and deterrent
                                           1

                                           2   goals of sanctions, as the need for one is not diminished by a need for the other. Thus, sanctions

                                           3   may be warranted where a relatively innocent violation leads great harm, where there is strong
                                           4   evidence of bad faith or willful conduct (even if there is minimal evidence of harm), and certainly
                                           5
                                               where both are present. In all circumstances, an appropriate sanction will stem from the balance of
                                           6
                                               the two.
                                           7
                                                                          III. DISCUSSION: THE CONDUCT AT HAND
                                           8

                                           9             With these standards in mind, the court now turns to the instant matter. In this court’s order

                                          10   to show cause, the court identified five instances of conduct that may warrant sanctions. Applying
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                                          11   the framework above to those instances in light of the evidence presented, the court concludes as
    United States District Court




                                          12   follows:
                                          13
                                               A.        March 2012-May 2013: The Court Is Not Persuaded That Samsung Used Information
                                          14             From The Teece Report In Negotiations With Ericsson And Nokia

                                          15             In its order to show cause, the court noted that sanctions may be warranted against Samsung

                                          16   for its wrongful use of the insufficiently redacted Teece Report in preparing for negotiations with
                                          17   Ericsson and Nokia. 52 In response, Samsung produced numerous declarations and supporting
                                          18
                                               documents providing alternative sources for the information that had given the court pause. 53 With
                                          19
                                               respect to Ericsson, Samsung explains that Ericsson itself told Samsung the terms of its license
                                          20
                                               with Apple in the course of their mediations, 54 an assertion backed up by the sworn statement of an
                                          21

                                          22

                                          23

                                          24   disposition of cases on their merits; and (5) the availability of less drastic sanctions.” Connecticut
                                               Gen. Life Ins. Co. v. New Images of Beverly Hills, 482 F.3d 1091, 1096 (9th Cir. 2007).
                                          25   52
                                                    See Docket No. 2689 at 5.
                                          26   53
                                                    See Docket No. 2807.
                                          27   54
                                                    See id. at 14.
                                          28
                                                                                10
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                                                     !"#$%&''()*(+',-.(/0122234)56$789:;%222<=>$?+'@9:@'-222A"B$''24C2':


                                               attorney from the Kirkland & Ellis firm. 55 Given that no representative from Ericsson or anyone
                                           1

                                           2   else has come forward to refute that assertion, the court credits the testimony and accepts this

                                           3   explanation. With respect to the Nokia terms, however, although Samsung proffers numerous
                                           4   possible sources for its information, each explanation is tenuous at best. “It was in published news
                                           5
                                               sources,” Samsung urges. 56 “I just guessed,” Ahn insists. 57 And then there is the “Apple-Nokia
                                           6
                                               license memo” prepared by Williams and Connolly. 58 Although the court finds each one of
                                           7
                                               Samsung’s explanations shaky on its own, together they leave the court unpersuaded that Samsung
                                           8

                                           9   used the Teece Report in either the Ericsson or Nokia negotiations.

                                          10   B.        March, 2012: A Quinn Emanuel Junior Associate Failed To Properly Redact The
                                                         Teece Report, Violating This Court’s Protective Order, But Not In A Context
For the Northern District of California




                                          11             Requiring Sanctions
    United States District Court




                                          12             The court also indicated in its order to show cause that sanctions may be warranted for the
                                          13   initial failure to redact the Teece report. 59 It is undisputed that at some point in late March 2012,
                                          14
                                               a junior associate working late one night failed to fully redact Apple’s confidential license terms
                                          15
                                               from an expert report. 60 Section 9(a) of the protective order indicates that among the information
                                          16

                                          17   that “the Parties agree . . . if non-public, shall be presumed to merit the ‘HIGHLY

                                          18   CONFIDENTIAL-ATTORNEYS’ EYES ONLY’ designation” are “pricing information . . .
                                          19   financial data [and] licensing of the Producing Party’s intellectual property.” 61 The
                                          20

                                          21   55
                                                    See 2807-13 at 6.
                                          22   56
                                                    See 2481 at 48.
                                          23   57
                                                    See 2557-8 at 16.
                                          24   58
                                                    See Tab No. 246.
                                          25   59
                                                    See Docket No. 2689 at 5.
                                          26   60
                                                    See Docket Nos. 2807, 2835-3 at 11-18.
                                          27   61
                                                    See Docket No. 687 at 11.
                                          28
                                                                                11
                                               Case No. 5:11-cv-01846-LHK (PSG)
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                                                     !"#$%&''()*(+',-.(/0122234)56$789:;%222<=>$?+'@9:@'-222A"B$'924C2':



                                           1   uncontroverted evidence establishes that unredacted portions of the report contained the licensing

                                           2   terms for Apple’s intellectual property, 62 and although Samsung attempts to argue that this

                                           3   information was already public, the sources it references all state that the numbers they contain
                                           4
                                               are, at best, estimates, as the parties are keeping the information confidential, and in fact, the
                                           5
                                               terms they disclose do not match those described in the Teece Report. 63 Based on this evidence,
                                           6
                                               the court finds that the information was non-public, and that the failure to redact this information
                                           7

                                           8   was a violation of this court’s protective order.

                                           9            That said, every lawyer in this case has acknowledged that these types of mistakes
                                          10
                                               happen. In a case of this size and scope, it would be completely unreasonable to expect every
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                                          11
                                               person on every team to perform perfectly at all times. As Samsung points out in its brief, if the
    United States District Court




                                          12
                                               court begins issuing sanctions every time a document is less than fully redacted, it will quickly
                                          13
                                               lose any bandwidth to deal with any other matters. 64 The cavalcade that followed did not happen
                                          14

                                          15   because of this one mistake. As discussed in more detail below, if the process around this one

                                          16   mistake had been more appropriately engineered to guard the sensitive information it was
                                          17   processing, the missed redaction could have been caught and this entire fiasco avoided. For the
                                          18
                                               simple error in redaction, however, the court does not find that sanctions can reasonably be
                                          19
                                               imposed; the harm resulting from this error alone is too small and speculative to punish when it is
                                          20
                                               so clear that this act, more than any other before the court, was inadvertent.
                                          21

                                          22

                                          23

                                          24   62
                                                    See Docket No. 2485 at 49-53.
                                          25   63
                                                 See Docket No. 2395 at 6 (“Bernstein analyst Pierre Ferragu estimates . . . Swedbank AB analyst
                                               Jari Honko estimated . . . Though the public filing did not disclose the sum it was paid by Apple in
                                          26
                                               their patent deal, the information would suggest”) (emphasis added).
                                          27   64
                                                    See Docket No. 2835-3 at 22.
                                          28
                                                                                12
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                                                     !"#$%&''()*(+',-.(/0122234)56$789:;%222<=>$?+'@9:@'-222A"B$';24C2':


                                               C.        March 23, 2012 – August 1, 2013: The Incompletely Redacted Teece Report Was
                                           1             Widely Circulated Within Samsung In Violation Of This Court’s Protective Order,
                                                         And Those Hundreds Of Violations Merit Sanctions
                                           2

                                           3             One inadvertent mistake resulted in the widespread distribution of confidential information

                                           4   to hundreds of people who were not authorized to have access to it. Each time this information
                                           5   went to a new person who was not authorized to receive it under the protective order, Section 9(b)
                                           6
                                               was violated, and although each individual violation here may have been as inadvertent as the
                                           7
                                               initial missed redaction above, sanctions are warranted here due to the breadth/volume of
                                           8

                                           9   violations and the fact that Samsung and its outside counsel made a conscious decision to set up a

                                          10   system that would allow violations of that scope to ensue from a mistake that small and, frankly,
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                                          11   predictable.
    United States District Court




                                          12
                                                        Mr. Quinn himself candidly and tellingly described his firm in court that as “650 lawyers
                                          13
                                               wide and 1 lawyer deep.” 65 In cases of this complexity, relying on such a structure to manage
                                          14

                                          15   highly confidential information from both parties and non-parties is akin to a trapeze artist flying

                                          16   high without a net. 99.99% of the time, no net is required. But in the 0.01% of the time when the
                                          17
                                               trapeze fails, the net is not there, and the fall causes much more damage than it otherwise might.
                                          18
                                                         The information traded by Apple and Samsung in this case was considered sufficiently
                                          19
                                               valuable by both parties to merit an interlocutory appeal to the Federal Circuit to keep it protected
                                          20

                                          21   from the public, 66 the vast majority of whom have absolutely no interest in it and no ability to use

                                          22   the information even if they were to discover it. It is sufficiently valuable to merit hundreds and

                                          23   hundreds of pages of sealing motions, with thousands of pages more in supporting declarations. If
                                          24
                                               keeping this information from the public is worth all of that, then surely, logically, it would be
                                          25
                                               65
                                          26        See Docket No. 2581 at 60:24-25.
                                               66
                                          27        See Apple Inc. v. Samsung Electronics Co., Ltd., 727 F.3d 1214 (Fed. Cir. 2013).

                                          28
                                                                                13
                                               Case No. 5:11-cv-01846-LHK (PSG)
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                                                     !"#$%&''()*(+',-.(/0122234)56$789:;%222<=>$?+'@9:@'-222A"B$'-24C2':


                                               worth a second, or even a third, round of review before producing it to a competitor corporation,
                                           1

                                           2   who would know exactly how to exploit it. Yet this basic precaution was not put in place.

                                           3   Because of this “1 lawyer deep” structure, a single inadvertent mistake led to confidential
                                           4   information being widely distributed within Samsung. This is unacceptable.
                                           5
                                                        Even with a “1 lawyer deep” structure, the information may yet have been contained if
                                           6
                                               Samsung and its executives had not adopted the practice of downloading and circulating litigation
                                           7
                                               documents to the far comers of the globe. Samsung, however, decided to mine the documents
                                           8

                                           9   produced in the litigation for all the value they could possibly extract, an understandable position

                                          10   given how expensive the information was, and its legitimate goal of maintaining consistent
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                                          11   positions in all its litigation across the world. That said, there is always a risk that something slips
    United States District Court




                                          12   through, and Samsung could just as easily have chosen to minimize the individuals exposed to
                                          13
                                               litigation documents in case it did. But it chose otherwise. The Teece Report went to hundreds of
                                          14
                                               people who were in no way involved in the Apple litigation. Given his sudden recollection that it
                                          15
                                               was the currency of the Apple/Nokia terms that allowed him to pluck them out of the redacted
                                          16

                                          17   spreadsheet, just days after offering no such explanation while testifying under oath, the court does

                                          18   not find Shim’s explanation that he never used the insufficiently redacted Teece Report credible.

                                          19   Even if others somehow missed the actual, unredacted information, the fact of the matter remains
                                          20
                                               that they had no right to have the information in the first place. This in and of itself was a
                                          21
                                               substantial harm to Apple and Nokia. 67 Samsung’s suggestion to the contrary ignores its own
                                          22
                                               stipulation to a protective order that prohibits “disclosure” even without use. 68
                                          23

                                          24   67
                                                 See Falstaff Brewing Corp. v. Miller Brewing Co., 702 F.2d 770, 773 (9th Cir. 1983) (affirming
                                          25   the imposition of sanctions where documents were not returned pursuant to the protective order,
                                               but there was no evidence of misuse or harm); cf. Smith & Fuller, P.A. v. Cooper Tire & Rubber
                                          26   Co., 685 F.3d 486, 488 (5th Cir. 2012) (affirming the imposition of sanctions without discussing
                                               harm caused by inadvertent dissemination of confidential information to parties outside the
                                          27   protective order).
                                               68
                                          28     See, e.g., Docket No 687 at 24 (“good cause” shall “include an objectively reasonable concern
                                                                                              14
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                                                     !"#$%&''()*(+',-.(/0122234)56$789:;%222<=>$?+'@9:@'-222A"B$'%24C2':


                                                        Having adopted this attitude of share-and-share-alike which allowed the leaked information
                                           1

                                           2   to spread so far, Samsung is as culpable for this debacle as Quinn Emanuel. Its willful failure to

                                           3   institute sufficient safeguards for the information warrants sanctions when considered in light of
                                           4   the vast distribution of confidential information that occurred because such protections were not
                                           5
                                               in place.
                                           6
                                               D.       December 21, 2012-January 4, 2013: Quinn Emanuel Violated Section 18(a) Of This
                                           7            Court’s Protective Order, And That Violation Merits Sanctions

                                           8            Finally, the court must consider Quinn Emanuel’s failures to follow the procedures set forth

                                           9   in Section 18(a) of the protective order once it learned of the inadvertent disclosures. That section,
                                          10
                                               entitled “INADVERTENT DISCLOSURE NOT AUTHORIZED BY ORDER” provides that “[i]n
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                                          11
                                               the event of a disclosure of any Discovery Material pursuant to this Order to any person or persons
    United States District Court




                                          12
                                               not authorized to receive such disclosure under this Protective Order, the Party responsible for
                                          13
                                               having made such disclosure, and each Party with knowledge thereof, shall immediately notify
                                          14

                                          15   counsel for the Producing Party whose Discovery Material has been disclosed and provide to such

                                          16   counsel all known relevant information concerning the nature and circumstances of the
                                          17   disclosure.” 69
                                          18
                                                        The first of these failures occurred in December of 2012. On December 21 and 22, 2012,
                                          19
                                               Quinn Emanuel became aware that a document containing Apple and Nokia’s confidential business
                                          20
                                               information had been uploaded to a server accessible by many Samsung employees. 70 A junior
                                          21

                                          22   associate found the information in a redacted version of the Teece Report that he personally had

                                          23

                                          24   that the Person will, advertently or inadvertently, use or disclose Discovery Materials”), 30 (“The
                                               responsible disclosing Party shall also promptly take all reasonable measures to retrieve the
                                          25   improperly disclosed Discovery Material and to ensure that no further or greater unauthorized
                                               disclosure and/or use thereof is made.”) (emphasis added).
                                          26   69
                                                    Docket No. 687 at 30.
                                          27   70
                                                    See Tab No. 20.
                                          28
                                                                                15
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                                                     !"#$%&''()*(+',-.(/0122234)56$789:;%222<=>$?+'@9:@'-222A"B$'.24C2':


                                               prepared, so that it could be circulated within Samsung. 71 This was sufficient to provide Quinn
                                           1

                                           2   Emanuel with notice that there was a problem dating back as far as March, 2012.

                                           3             Yet even though this young associate raised his concerns with the senior associate and the
                                           4   partner responsible for guarding against these kinds of errors, Quinn Emanuel did nothing to follow
                                           5
                                               up. True, the senior associate addressed the immediate issue of Shim receiving the particular copy
                                           6
                                               of the unredacted report just sent. 72 If that was the first time the report had ever been circulated,
                                           7
                                               that may have been enough. But it was not. That report had gone out to the client nine months
                                           8

                                           9   earlier, and both associates knew or should have known that.

                                          10             Quinn Emanuel protests that in reality, it did not know, so it should not be held
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                                          11   accountable for the lapse, 73 an argument which fails for a number of reasons. First, at least one
    United States District Court




                                          12   person at Quinn Emanuel-the junior associate who prepared the initial redactions and caught the
                                          13
                                               error in December-actually knew that the report had gone out to the client FTP site in its
                                          14
                                               incompletely redacted form. Again, Quinn Emanuel’s “1 lawyer deep” strategy caused the
                                          15
                                               problem. In a case of this size with this many resources and this much confidential information
                                          16

                                          17   floating about, it is only reasonable to expect that a firm’s left hand will know what the right hand

                                          18   has been doing with that information. 74 If no one on the Quinn Emanuel team was responsible for

                                          19   knowing what documents had gone out to the client, such that that person would have been aware
                                          20
                                               that the Teece report had gone out before, that is a flaw for which the firm must be
                                          21
                                               held accountable.
                                          22

                                          23   71
                                                    See id; see also Docket No. 2883 at 34.
                                          24   72
                                                    See Docket No. 2807-15, Ex. 4.
                                          25   73
                                                    See Docket No. 2835-3 at 11.
                                          26   74
                                                 See Docket No. 2581 at 60 (“Mr. Quinn: The reason [for this problem] is that nobody put it
                                          27   together . . . We are 650 lawyers wide and 1 lawyer deep. And one lawyer doesn’t necessarily
                                               know what another lawyer is doing.”).
                                          28
                                                                                16
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                                                     !"#$%&''()*(+',-.(/0122234)56$789:;%222<=>$?+'@9:@'-222A"B$'D24C2':


                                                         In order to comply with Section 18(a), to which Quinn Emanuel and its client had
                                           1

                                           2   stipulated, Quinn Emanuel should have “immediately” picked up the phone to call Apple and let

                                           3   them know that there was a problem. 75 Instead, it did nothing. This conduct requires sanctions.
                                           4   E.        July 1 – August 1, 2013: Quinn Emanuel Again Violated Section 18(A) Of This
                                                         Court’s Protective Order, And That Violation Merits Sanctions
                                           5
                                                         Later, on July 1, 2013, Nokia filed a motion for a protective order in the 12-630 case,
                                           6

                                           7   alerting Quinn Emanuel that somehow, Nokia’s confidential license with Apple had gotten through

                                           8   the protective order shield and into Samsung’s hands. 76 Quinn Emanuel, however, did not tell

                                           9   Apple. By July 16, 2013, at the very latest, they had concrete, actual notice that the confidential
                                          10
                                               information had definitely been disclosed. 77 Still, Quinn Emanuel did not tell Apple. Despite the
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                                          11
                                               protective order’s clear directive to “immediately notify counsel for the Producing Party,” Quinn
    United States District Court




                                          12
                                               Emanuel kept the information quiet for another fifteen days while independently negotiating with
                                          13
                                               Nokia, as though hoping that would make the problem go away. 78 Clearly, that hope was
                                          14

                                          15   misplaced.

                                          16                                               IV. REMEDIES
                                          17             Having concluded that its protective order was repeatedly violated and at least some of
                                          18
                                               these violations warrant sanctions, the court must consider what sanctions would be appropriate in
                                          19
                                               this case. Apple and Nokia propose a number of creative sanctions that Quinn and Samsung should
                                          20
                                               face in light of their misconduct, suggesting everything from an injunction against Samsung in the
                                          21

                                          22   75
                                                    See Docket No. 687 at 30.
                                          23   76
                                                 Quinn Emanuel argues that this motion alone provided Apple with the required notice under the
                                          24   protective order, as it is on the ECF notification list-serve. See Docket No. 2883 at 45-46.
                                               However, there is no reason whatsoever that a motion by a third party for a protective order based
                                          25   on unsubstantiated allegations would serve to provide the notice required under Section 18(a).
                                               Apple was entitled to a phone call, or at least an email.
                                          26   77
                                                    See Docket No. 2395-3 at 2.
                                          27   78
                                                    See id. at 2-3.
                                          28
                                                                                17
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                                                     !"#$%&''()*(+',-.(/0122234)56$789:;%222<=>$?+'@9:@'-222A"B$',24C2':


                                               12-630 case 79 to a ten-year ban from representing any party adverse to Nokia. 80 The vast majority
                                           1

                                           2   of these are ludicrously overbroad, such as the suggestion that both Samsung and Quinn Emanuel

                                           3   should be banned from any situation in which they might make use of licensing information for the
                                           4   next two years. 81 Although the evidence has shown Quinn Emanuel failed to notify the relevant
                                           5
                                               parties at the relevant times, and that Shim made use of the information, there has been insufficient
                                           6
                                               evidence that this failure to notify or misuse ultimately implicated any issue in this or any other
                                           7
                                               litigation or negotiation. By the final hearing on December 9, 2013, this lack of clear evidence was
                                           8

                                           9   obvious in the tone of the moving parties. Apple and Nokia’s allegations had shifted,

                                          10   acknowledging that the evidence of misuse is “circumstantial,” 82 must overcome facial
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                                          11   “inconsistencies,” 83 and that even they could only characterize it as “more likely than not” that the
    United States District Court




                                          12   information had been used. 84 In short, what began as a chorus of loud and certain accusations had
                                          13
                                               died down to aggressive suppositions and inferences, and without anything more, Quinn Emanuel
                                          14
                                               and Samsung cannot reasonably be subject to more punitive sanctions.
                                          15
                                                        Quinn Emanuel shall reimburse Apple, Nokia, and their counsel for any and all costs and
                                          16

                                          17   fees incurred in litigating this motion and the discovery associated with it, as required by Rule 37

                                          18   in the absence of “substantial justification” or other showing of “harmlessness,” neither of which

                                          19   the court finds here. That expense, in addition to the public findings of wrongdoing, is, in the
                                          20

                                          21

                                          22   79
                                                    See Docket No. 2838-3 at 19.
                                          23   80
                                                    See Docket No. 2836-4 at 24.
                                          24   81
                                                    See Docket No. 2838-3 at 18.
                                          25   82
                                                    Docket No. 2873-3 at 4.
                                          26   83
                                                    Docket No. 2872-5 at 1-2.
                                          27   84
                                                    Docket No 2873-3 at 4.
                                          28
                                                                                18
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                                                 !"#$%&''()*(+',-.(/0122234)56$789:;%222<=>$?+'@9:@'-222A"B$':24C2':


                                               court’s opinion, sufficient both to remedy Apple and Nokia’s harm and to discourage similar
                                           1

                                           2   conduct in the future.

                                           3          For the remainder of the 11-1846 and 12-0630 cases, before distributing or filing redacted
                                           4   documents, Quinn Emanuel and any other firm representing Samsung, shall send the redacted
                                           5
                                               versions to Apple’s counsel for their review and approval. Apple and its counsel shall adopt a
                                           6
                                               similar practice.
                                           7
                                                      Finally, with Apple and Nokia’s consent, Quinn Emanuel shall be responsible for ensuring
                                           8

                                           9   that all copies of the Teece report containing confidential information are deleted, erased, wiped, or

                                          10   otherwise permanently removed from Samsung’s control within fourteen days of this order.
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                                          11   IT IS SO ORDERED.
    United States District Court




                                          12   Dated: January 29, 2014
                                          13
                                                                                             _________________________________
                                          14                                                 PAUL S. GREWAL
                                                                                             The United States Magistrate Judge
                                          15

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                                                                                19
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